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     8                          UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               September 2017 Grand Jury

i1        UNITED STATES OF AMERICA,             SA CR No. 16-36(A)-CJC

12                         Plaintiff,           F I R S T
                                                S U P E R S E D I N G
13                         v.                   I N D I C T M E N T

14        NIKISHNA POLEQUAPTEWA,               [18 U.S.C. ~~ 1030(a)(5)(A),
                                               (c)(4)(B)(i), (c)(4)(A)(i)(I)
15                        Defendant.           Unauthorized Impairment of the
                                               Integrity and Availability of
16                                             Data, Programs, Systems, and
                                               Information]
17

18              The Grand Jury charges:

19            [Z8 U.S.C. §~ 1030(a)(5)(A), (c)(4)(B)(i), (c) (4)(A)(i)(I)]

20       A.    INTRODUCTORY ALLEGATIONS

21             At all times relevant to this First Superseding Indictment:

22             1.    Blue Stone Strategy Group ("Blue Stone") was a company

23       headquartered in Irvine, California, within the Central District

24       of California, that provided consulting services to Native

25       American tribal governments throughout the United States.                           In

26       particular, Blue Stone assisted Native American tribal

27       governments improve the efficiency of their governments and in

28       the economic development of the governments' businesses.
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     1           2.   Defendant NIKISHNA POLEQUAPTEWA ("defendant

     2     POLEQUAPTEWA") resided in Garden Grove, California.          In April

     3     2014, Blue Stone hired defendant POLEQUAPTEWA as a consultant

     4     with the title Senior Strategist.       Shortly after joining Blue

     5    Stone, defendant POLEQUAPTEWA, in addition to his consulting

     6    responsibilities as a Senior Strategist, became responsible for

     7    information technology and marketing-related projects.           Before

     8    joining Blue Stone, defendant POLEQUAPTEWA had obtained a minor

     9    in Information and Computer Science, while at the University of

 IO       California, Irvine.

 11             3.    Until on or about November 14, 2014, defendant

12        POLEQUAPTEWA was responsible for developing and maintaining Blue

13        Stone's information technology infrastructure.

14              4.    While defendant POLEQUAPTEWA was in charge of

15        information technology, Blue Stone stored its work-related data

16        on in-office computers, an in-office server, and on remote

17       servers operated by third-party service providers.

18       Specifically, Blue Stone stored work-related data on a Mac Pro

19       desktop computer located in Irvine, California, an internal

20       server also located in Irvine, California, that was remotely

21       accessible to employees through the Internet, and remote servers

22       hosted by Google Inc., Bluehost Inc., MailChimp, and Cox

23       Communications.     All of the servers and computers described in

24       the First Superseding Indictment were protected computers that

25       were used in and affecting interstate and foreign commerce and

26       communication, as defined in Title 18, United States Code,

27       Sections 1030(e)(1) and 1030(e)(2) (B).

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     1          5.    On or about November 14, 2014, Blue Stone reassigned

     2     defendant POLEQUAPTEWA's duties related to information

     3     technology and marketing to outside vendors so defendant

     4    POLEQUAPTEWA could focus on his work as a Senior Strategist.

     5    Defendant POLEQUAPTEWA was instructed to transfer his

     6    administrator passwords related to the computers and servers

     7    described above to an outside vendor who would handle

     8    information technology going forward.

     9          6.    On or about November 17, 2014, and November 18, 2014,

 10       defendant POLEQUAPTEWA was in Florida on a Blue Stone project

11        for the Seminole Tribe of Florida.

12              7:    On or about November 18, 2014, during a meeting

13        attended by members of Blue Stone and Blue Stone's client, the

14        Seminole. Tribe of Florida, defendant POLEQUAPTEWA resigned from

15        Blue Stone.

16             8.    On or about November 18, 2014, without authorization,

17        while in Florida, defendant POLEQUAPTEWA deleted various files

18       belonging to Blue Stone that were stored on Blue Stone's

19       internal server located in Irvine, California, and remote

20       servers hosted by Google Inc., Bluehost Inc., MailChimp, and Cox

21       Communications.

22             9.    On or about November 18, 2014, without authorization,

23       while still in Florida, defendant POLEQUAPTEWA sent an erase or

24       "wipe" command to Blue Stone's Mac Pro desktop computer located

25       in Irvine, California, using Apple's Find My iPhone application.

26       On or about November 19, 2014, Blue Stone's Mac Pro desktop

27       computer located in Irvine, California, was turned on and the

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     1     erase command defendant POLEQUAPTEWA sent from Florida caused

     2     the contents of the computer to be deleted.

     3          10.   The deletions of Blue Stone's files that defendant

     4    POLEQUAPTEWA executed, without authorization, on or about

     5    November 18, 2014, and on or about November 19, 2014, caused

     6    Blue Stone a loss of approximately $50,000.

     7    B.    UNAUTHORIZED IMPAIRMENT

     8          11.   On or about November 18, 2014, in Orange County,

     9    within the Central District of California, and elsewhere,

 10       defendant POLEQUAPTEWA knowingly caused the transmission of

11        programs, information, codes, and commands to a protected

12        computer that was used in and affecting interstate and foreign

13        commerce and communication, as defined in Title 18, United

14        States Code, Sections 1030(e) (1) and 1030(e)(2)(B),

15        specifically, Blue Stone's Mac Pro desktop computer located in

16        Irvine, California, bearing serial number F5KMF03YF693, and as a

17        result of such conduct, intentionally caused impairments to the

18       integrity and availability of data, programs, systems, and

19       information without authorization.

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     1          12.   The offense described in the previous paragraph caused

     2    loss to Blue Stone during a one-year period beginning on or

     3    about November 18, 2014, and loss resulting from a related

     4    course of conduct affecting one or more other protected

     5    computers that were used in and affecting interstate and foreign

     6    commerce and communication, as defined in Title 18, United

     7    States Code, Sections 1030(e) (1) and 1030(e)(2)(B), aggregating

     8    at least $5,000 in value.

     9                                                  A TRUE BILL

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11                                                      Foreperson
          NICOLA T. HANNA
12
          United States Attorney
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14
         LA RENC     MIDD TON
15       Ass   ant Uni ed States Attorney
         Chief, Criminal Division
16
         DENNISE D. WILLETT
17       Assistant United States Attorney
         Chief, Santa Ana Branch Office
18
         VIBHAV MITTAL
19       BRADLEY MARRETT
         Assistant United States Attorneys
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